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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

KTM AG,                                                   )
                                                          )   Case No. 20-cv-6743
                Plaintiff,                                )
                                                          )
                                                          )    Judge Rebecca R. Pallmeyer
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff KTM AG hereby
dismisses with prejudice all causes of action in the complaint against the following Defendants identified
in Schedule A. Each party shall bear its own attorney’s fees and costs.
        No.     Defendant
        183     Zhongshanshi Shouxuan Shenghuodianqiyouxiangongsi


        The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                         Respectfully submitted,
Dated: January 13, 2021                  By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
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                                                  Attorneys for Plaintiffs
                                                  KTM AG
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on January 13, 2021.



                                                          s/Michael A. Hierl
